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Si n c e t h e D ef e n d a nt i s a g o v er n m e nt a g e n c y, I m ail e d c o pi e s of t h e c o m pl ai nt a n d t h e s u m m o n s f or t h e U. S. D e p art m e nt of E d u c ati o n b y U S P S
c ertifi e d m ail t o t h e Att or n e y G e n er al of t h e U nit e d St at e s a n d t h e ci vil pr o c e s s cl er k of t h e U. S. Att or n e y’ s offi c e f or t h e S o ut h er n Di stri ct of N e w
Y or k o n 1 1/ 1 4/ 2 0 2 4. Pl e a s e s e e t h e att a c h e d U S P S r e c ei pt s, s h o wi n g t h e d eli v er y a d dr e s s e s, a n d t h e d eli v er y c o nfir m ati o n s, s h o wi n g t h at t h e y
w er e d eli v er e d o n 1 1/ 1 9/ 2 0 2 4 a n d 1 1/ 1 8/ 2 0 2 4.
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              November 19, 2024, 5:25 am

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           What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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